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Official Report

 

 

Division of Forensic Sciences Central Regionaz Lab

Georgia Bureau of Investigation DOFS Case #: 2017-4000095

State of Georgia Report Date: 03l221201?

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SSF’““»“ D"€C‘O' occre°`“ed TES“"Q 13°°”“0’>' :lillllli§ll|lElilliilill§Elfrl||EEElE|l|lillil!llilliliiii§iili|idlli§i§fit

Requested Servit:e: Solid Nlateria| » Drog identifzcation
Agenoy: Nionroe Co. Sher`sz`e Offioe
Agenov Re#t: 2016030325
Requeszed by: C. Mapies

Case |ndividuals:
Subject.' Dasha Marie Finc:her
Subject'_ Davz`d Maynard l\,'lorrie

Evidence:
On 91£06;'20??`, the laboratory reoe'zved the following evidence from the fdonroe Co. Sberiff‘S Oiflce via
_ockbox_
201?~4000095-001 Sea|ee` package{ei containing one bag of blue soé`td material

Examinations Performed:
Evio'eni:e St.=bmission #UO‘;
Etectron:o balance andior mechanical scale
Gas chromalography.-"Mass spectrornetry
l-iig`rt Performance i_tquid Coromatography

Resuits and Conc|l.tsions:
Evioertce St.tbmission #DC'i
No controlled substances con"irmed in the sample tested as draftssz by G.C.G,A. § 16-' 3
Net weight of sampie tested 26.406 -gram(s`; +»"- G.DUSQrernts`g

Measurement Uncertainty:
Est`:='rtations of measurement uncertainty for all quantitative determinations in Drug '.-dentiHcation are reported at a
Covetage probability of 99.73%.

On¥y those items discussed in the results above were anatyzeo for this reportv The above represents the
interpretationslopir\ions of the undersigned analyst. Evident;e attained itt this report witt be returned to the
submitting t=lget'li:g..l1 Bioiogicaf evidence {body fluids and tissues ad fire debris extracts will be destroyed after
one year. `Fhis report may not be reproduced except in full witho<.zt written permission of the laboratory.

Techrlical notes and data supporting the eonctusiorts and findings in this report are maintained within the
iadaratory case records

This case may contain evidence that must be preserved in accordance with O.C.G.A. § 17-5-56.

lamile N. Hankins
Forettsic C|temist
478-752-1?87
jami|ah.hankins@gbi.ga.gov
Related Agencies:
`l'owaiiga Judicial Circuit
Nlonroe Co. District Attorney

 

Report Date: 031221201? Ex F‘a o 1 of 2
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G°°"g'° B“'°a“ °' ""“'°s“ga“°"' 2017-4000095: solid Material - Drug ldantmcation
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End of Official Report

 

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